IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

BRIAN D. WILCOX AND
RAYLENE WILCOX

Plaintiffs

vs. Civil Action No. 3:09-1039

Judge Nixon
THE TRAVELERS INDEMNITY Magistrate Judge Bryant/Brown
COMPANY OF AMERICA Jury Demand
Defendant.

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AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

As evidenced by the signatures of counsel for the parties, all matters in controversy
arising in this action have been resolved, and this case should be dismissed With prejudice.

IT IS, THEREFORE, ORDERED AND ADJUDGED that this action is dismissed With
prej udice. Court costs Will be paid by the Defendant for which execution may issue if necessary,
but the parties are responsible for their own discretionary costs.

IT IS SO ORDERED.

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The Honorable Senior District Judge John T. Nixon

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